      3:20-cv-02817-JMC          Date Filed 11/09/20   Entry Number 16       Page 1 of 11




                              UNITED STATES DISCTRICT COURT
                               DISCTRICT OF SOUTH CAROLINA
                                    COLUMBIA DIVISION

Adam Jordan,
                                                       Case No.: 3:20-cv-02817
                        Plaintiff,

v.

Regions Bank, NA and Drew, Eckl &
Farnham, LLP,

                        Defendants.


                            CONSENT CONFIDENTIALITY ORDER

         Whereas, Plaintiff Adam Jordan and Defendants Regions Bank, NA and Drew, Eckl &

Farnham, LLP (collectively the “parties” or individually a “party”) have engaged in the exchange

of written discovery and have stipulated that certain discovery material is and should be treated

as confidential, and have agreed to the terms of this order in order to treat such material as

confidential, it is this 9th day of November, 2020, ORDERED:

         1.       Scope. All documents produced in the course of discovery, all responses to

discovery requests and all deposition testimony and deposition exhibits and any other materials

which may be subject to discovery (hereinafter collectively “documents”) shall be subject to this

Order concerning confidential information as set forth below.

         2.       Form and Timing of Designation.         Confidential documents shall be so

designated by placing or affixing the word “CONFIDENTIAL” on the document in a manner

which will not interfere with the legibility of the document and which will permit complete

removal of the Confidential designation. Documents shall be designated CONFIDENTIAL prior

to, or contemporaneously with, the production or disclosure of the documents. Inadvertent or



                                                1
HSB 5868544 v.1
      3:20-cv-02817-JMC          Date Filed 11/09/20      Entry Number 16        Page 2 of 11




unintentional production of documents without prior designation as confidential shall not be

deemed a waiver, in whole or in part, of the right to designate documents as confidential as

otherwise allowed by this Order.

         3.       Documents Which May be Designated Confidential. Any party may designate

Documents as confidential but only after review of the Documents by an attorney who has, in

good faith, determined that the Documents contain information protected from disclosure by

statute, sensitive personal information, trade secrets, or confidential research, development, or

commercial information. Information or Documents which are available in the public sector may

not be designated as confidential.

         4.       Depositions.   Portions of depositions shall be deemed confidential only if

designated as such when the deposition is taken or within seven business days after receipt of the

transcript. Such designation shall be specific as to the portions to be protected.

         5.       Protection of Confidential Material.

         a.       General Protections. Documents designated CONFIDENTIAL under this Order

         shall not be used or disclosed by the parties or counsel for the parties or any other persons

         identified below (¶ 5.b.) for any purposes whatsoever other than preparing for and

         conducting the litigation in which the documents were disclosed (including any appeal of

         that litigation). The parties shall not disclose documents designated as confidential to

         putative class members not named as plaintiffs in putative class litigation unless and until

         one or more classes have been certified.

         b.       Limited Third Party Disclosures. The parties and counsel for the parties shall

         not disclose or permit the disclosure of any documents designated CONFIDENTIAL

         under the terms of this Order to any other person or entity except as set forth in



                                                    2
HSB 5868544 v.1
      3:20-cv-02817-JMC           Date Filed 11/09/20         Entry Number 16      Page 3 of 11




         subparagraphs (1)-(5) below, and then only after the person to whom disclosure is to be

         made has executed an acknowledgment (in the form set forth at Attachment A hereto),

         that he or she has read and understands the terms of this Order and is bound by it. Subject

         to these requirements, the following categories of persons may be allowed to review

         documents which have been designated CONFIDENTIAL pursuant to this Order:

                  (1)    counsel and employees of counsel for the parties who have responsibility

                  for the preparation and trial of the lawsuit;

                  (2)    parties and employees of a party to this Order but only to the extent

                  counsel shall certify that the specifically named individual party or employee’s

                  assistance is necessary to the conduct of the litigation in which the information is

                  disclosed;

                  (3)    court reporters engaged for depositions and those persons, if any,

                  specifically engaged for the limited purpose of making photocopies of documents;

                  (4)    consultants, investigators, or experts (hereinafter referred to collectively as

                  “experts”) employed by the parties or counsel for the parties to assist in the

                  preparation and trial of the lawsuit; and

                  (5)    other persons only upon consent of the producing party or upon order of

                  the court and on such conditions as are agreed to or ordered.

         c.       Control of Documents. Counsel for the parties shall take reasonable efforts to

         prevent unauthorized disclosure of documents designated as Confidential pursuant to the

         terms of this order.      Counsel shall maintain a record of those persons, including

         employees of counsel, who have reviewed or been given access to the documents along




                                                     3
HSB 5868544 v.1
      3:20-cv-02817-JMC          Date Filed 11/09/20      Entry Number 16      Page 4 of 11




         with the originals of the forms signed by those persons acknowledging their obligations

         under this Order.

         d.       Copies. All copies, duplicates, extracts, summaries or descriptions (hereinafter

         referred to collectively as “copies”), of documents designated as Confidential under this

         Order or any portion of such a document, shall be immediately affixed with the

         designation “CONFIDENTIAL” if the word does not already appear on the copy. All

         such copies shall be afforded the full protection of this Order.

         6.       Filing of Confidential Materials. Nothing contained in this Order shall prevent

disclosure or use of any confidential material in connection with any deposition in this case, so

long as such disclosure or use is deemed necessary in the judgment of counsel proposing to

disclose or use such material for the prosecution or defense of this action, and provided further

that the deponent agrees to signify in writing in a form attached hereto as Exhibit A that he or

she has read and consents to abide by the terms of this Order. A party’s right to use any

confidential material at the trial of this case or at any other evidentiary hearings shall be

determined and directed by the Court. In the event that a party wishes to use information or

Documents designated as confidential in any document, pleading or deposition transcript filed in

this litigation, the party shall request the Court to enter an Order that such document, pleading or

transcript (or the part thereof containing confidential material) be filed under seal and maintained

under seal by the Court, subject to further order or the Federal Rules of Civil Procedure.

         7.       Greater Protection of Specific Documents. No party may withhold information

from discovery on the ground that it requires protection greater than that afforded by this Order

unless the party moves for an Order providing such special protection.




                                                   4
HSB 5868544 v.1
      3:20-cv-02817-JMC           Date Filed 11/09/20      Entry Number 16        Page 5 of 11




         8.       Challenges to Designation as Confidential. Any CONFIDENTIAL designation

is subject to challenge.    The following procedures shall apply to any such challenge.

         a.       The burden of proving the necessity of a Confidential designation remains with

         the party asserting confidentiality.

         b.       A party who contends that documents designated CONFIDENTIAL are not

         entitled to confidential treatment shall give written notice to the party who affixed the

         designation of the specific basis for the challenge. The party who so designated the

         documents shall have fifteen (15) days from service of the written notice to determine if

         the dispute can be resolved without judicial intervention and, if not, to move for an Order

         confirming the Confidential designation.

         c.       Notwithstanding any challenge to the designation of documents as confidential,

         all material previously designated CONFIDENTIAL shall continue to be treated as

         subject to the full protections of this Order until one of the following occurs:

                  (1)    the party who claims that the documents are confidential withdraws such

                  designation in writing;

                  (2)    the party who claims that the documents are confidential fails to move

                  timely for an Order designating the documents as confidential as set forth in

                  paragraph 8.b. above; or

                  (3)    the court rules that the documents should no longer be designated as

                  confidential information.

         d.       Challenges to the confidentiality of documents may be made at any time and are

         not waived by the failure to raise the challenge at the time of initial disclosure or

         designation.



                                                   5
HSB 5868544 v.1
      3:20-cv-02817-JMC          Date Filed 11/09/20      Entry Number 16       Page 6 of 11




         9.       Treatment on Conclusion of Litigation.

         a.       Order Remains in Effect. All provisions of this Order restricting the use of

         documents designated CONFIDENTIAL shall continue to be binding after the conclusion

         of the litigation unless otherwise agreed or ordered.

         b.       Return of CONFIDENTIAL Documents. Within thirty (30) days after the

         conclusion of the litigation, including conclusion of any appeal, all documents treated as

         confidential under this Order, including copies as defined above (¶ 5.d.) shall be returned

         to the producing party unless: (1) the document has been entered as evidence or filed

         (unless introduced or filed under seal); (2) the parties stipulate to destruction in lieu of

         return; or (3) as to documents containing the notations, summations, or other mental

         impressions of the receiving party, that party elects destruction. Notwithstanding the

         above requirements to return or destroy documents, counsel may retain attorney work

         product including an index which refers or relates to information designated

         CONFIDENTIAL so long as that work product does not duplicate verbatim substantial

         portions of the text of confidential documents.         This work product continues to be

         Confidential under the terms of this Order. An attorney may use his or her work product

         in a subsequent litigation provided that its use does not disclose the confidential

         documents.

         10.      Order Subject to Modification. This Order shall be subject to modification on

motion of any party or any other person who may show an adequate interest in the matter to

intervene for purposes of addressing the scope and terms of this Order. The Order shall not,

however, be modified until the parties shall have been given notice and an opportunity to be

heard on the proposed modification.



                                                  6
HSB 5868544 v.1
      3:20-cv-02817-JMC         Date Filed 11/09/20      Entry Number 16      Page 7 of 11




           11.    No Judicial Determination. This Order is entered based on the representations

and agreements of the parties and for the purpose of facilitating discovery. Nothing herein shall

be construed or presented as a judicial determination that any specific document or item of

information designated as confidential by counsel is subject to protection under Rule 26(c) of the

Federal Rules of Civil Procedure until such time as a document-specific ruling shall have been

made.

           12.    Persons Bound. This Order shall take effect when entered and shall be binding

upon: (1) counsel who signed below and their respective law firms; and (2) their respective

clients.

           AND IT IS SO ORDERED.

                                                             s/J. Michelle Childs
                                                             J. Michelle Childs
                                                             United States District Judge
November 9, 2020
Columbia, South Carolina

WE SO MOVE AND CONSENT:



By: s/Dave Maxfield                                 By: s/Mary M. Caskey
Dave Maxfield, Fed. ID 6293                         Mary M. Caskey, Fed ID 10120
Dave Maxfield, Attorney, LLC                        C. Elizabeth Weston, Fed ID 12770
Post Office Box 11865                               Haynsworth Sinkler Boyd, PA
Columbia, South Carolina 29211                      Post Office Box 11889
(803) 509-6800 (Telephone)                          Columbia, South Carolina 29201
(855) 299-1656 (Facsimile)                          (843) 779-3080 (Telephone)
dave@consumerlawsc.com                              (843) 765-1243 (Facsimile)
Attorney for Plaintiff                              mcaskey@hsblawfirm.com
                                                    Attorneys for Defendants




                                                7
HSB 5868544 v.1
      3:20-cv-02817-JMC           Date Filed 11/09/20      Entry Number 16        Page 8 of 11




                                          ATTACHMENT A

                               UNITED STATES DISCTRICT COURT
                                DISCTRICT OF SOUTH CAROLINA
                                     COLUMBIA DIVISION

Adam Jordan,
                                                           Case No.: 3:20-cv-02817
                         Plaintiff,

v.

Regions Bank, NA and Drew, Eckl &
Farnham, LLP,

                         Defendants.

                     CERTIFICATION BY COUNSEL OF DESIGNATION
                         OF INFORMATION AS CONFIDENTIAL

       Documents produced herewith [whose bates numbers are listed below (or) which are
listed on the attached index] have been marked as CONFIDENTIAL subject to the
Confidentiality Order entered in this action which Order is dated [confidentiality order date].

       By signing below, I am certifying that I have personally reviewed the marked documents
and believe, based on that review, that they are properly subject to protection under the terms of
Paragraph 3 of the Confidentiality Order.

         Check and complete one of the two options below.

         ❑        I am a member of the Bar of the United States District Court for the District of
                  South Carolina. My District Court Bar number is [District Court Bar #].

         ❑        I am not a member of the Bar of the United States District Court for the District of
                  South Carolina but am admitted to the bar of one or more states. The state in
                  which I conduct the majority of my practice is [state in which I practice most]
                  where my Bar number is [that state's Bar #]. I understand that by completing this
                  certification I am submitting to the jurisdiction of the United States District Court
                  for the District of South Carolina as to any matter relating to this certification.



                                                    8
HSB 5868544 v.1
      3:20-cv-02817-JMC     Date Filed 11/09/20   Entry Number 16    Page 9 of 11




Date: [date attachment A signed]                    [Signature of Counsel [s/name]]
                                                    Signature of Counsel

                                                    [Printed Name of Counsel [A]]
                                                    Printed Name of Counsel




                                           9
HSB 5868544 v.1
      3:20-cv-02817-JMC            Date Filed 11/09/20     Entry Number 16         Page 10 of 11




                                          ATTACHMENT B

                                UNITED STATES DISCTRICT COURT
                                 DISCTRICT OF SOUTH CAROLINA
                                      COLUMBIA DIVISION

Adam Jordan,
                                                               Case No.: 3:20-cv-02817
                          Plaintiff,

v.

Regions Bank, NA and Drew, Eckl &
Farnham, LLP,

                          Defendants.


                      ACKNOWLEDGMENT OF UNDERSTANDING AND
                            AGREEMENT TO BE BOUND

       The undersigned hereby acknowledges that he or she has read the Confidentiality Order
dated [confidentiality order date], in the above captioned action, understands the terms thereof,
and agrees to be bound by such terms. The undersigned submits to the jurisdiction of the United
States District Court for the District of South Carolina in matters relating to the Confidentiality
Order and understands that the terms of said Order obligate him/her to use discovery materials
designated CONFIDENTIAL solely for the purposes of the above-captioned action, and not to
disclose any such confidential information to any other person, firm or concern.

         The undersigned acknowledges that violation of the Stipulated Confidentiality Order may
result in penalties for contempt of court.

                  Name:                  [undersigned name [att B]]
                  Job Title:             [Job Title [att B]]
                  Employer:              [Employer [att B]]
                  Business Address:      [Business Address [att B]]


Date: [date attachment B signed]                                  [Signature [attachment B]]
                                                                  Signature




                                                   10
HSB 5868544 v.1
      3:20-cv-02817-JMC           Date Filed 11/09/20    Entry Number 16       Page 11 of 11




                                         ATTACHMENT C

                               UNITED STATES DISCTRICT COURT
                                DISCTRICT OF SOUTH CAROLINA
                                     COLUMBIA DIVISION


Adam Jordan,                                              Case No.: 3:20-cv-02817

                         Plaintiff,

v.

Regions Bank, NA and Drew, Eckl &
Farnham, LLP,

                         Defendants.


                          CERTIFICATION OF COUNSEL OF NEED
                          FOR ASSISTANCE OF PARTY/EMPLOYEE

       Pursuant to the Confidentiality Order entered in this action, most particularly the
provisions of Paragraph 5.b.2., I certify that the assistance of [name of assistant [att C]] is
reasonably necessary to the conduct of this litigation and that this assistance requires the
disclosure to this individual of information which has been designated as CONFIDENTIAL.

         I have explained the terms of the Confidentiality Order to the individual named above
and will obtain his or her signature on an “Acknowledgment of Understanding and Agreement to
be Bound” prior to releasing any confidential documents to the named individual and I will
release only such confidential documents as are reasonably necessary to the conduct of the
litigation.

         The individual named above is:

         ❑        A named party;

         ❑        An employee of named party [employee of named party]. This employee’s job
                  title is [employee's job title] and work address is [employee's work address].


Date: [date attachment C signed]                             [Signature [attachment C]]
                                                              Signature




                                                  11
HSB 5868544 v.1
